  Case 1:22-cr-00060-LEK Document 77 Filed 01/12/23 Page 1 of 9    PageID.301

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CLARE E. CONNORS# 7936
United States Att01ney
District of Hawaii                                            FILED IN THE
                                                     UNITED STATES DISTRICT COURT
                                                          DISTRICT OF HAWAII
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Attorneys for Plaintiff
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAW All

UNITED STATES OF AMERICA,            ) CR. NO. 22-00060 LEK
                                     )
                  Plaintiff,         )
                                     ) SUPERSEDING INDICTMENT
      vs.                            )
                                     )
WALTER GLENN PRIMROSE,               ) [18 U.S.C. §§ 371, 1028A, 1542]
  aka "Bobby Edward Fort," and       )
                                     )
GWYNN DARLE MORRISON,                )
  aka "Julie Lyn Montague,"          )
                                     )
                  Defendants.        )
_ _ _ _ __ _ __                      )

                       SUPERSEDING INDICTMENT
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           The Grand Jury charges:

                                            Count 1
                                          Conspiracy
                                       (18 u.s.c. § 371)

           On or about August 28, 2018, within the District of Hawaii, WALTER

     GLENN PRIMROSE, aka "Bobby Edward Fort," and GWYNN DARLE

     MORRISON, aka "Julie Lyn Montague," the defendants, did knowingly and

     willfully conspire and agree together and with each other to commit an offense

     against the United States, that is, to willfully and knowingly make materially false,

     fictitious, and fraudulent statements or representations in a matter within the

     jurisdiction of the Department of Defense, a governmental agency or department,

     in violation of Title 18, United States Code, Section 1001.

                                   Object of the Conspiracy

           It was the object of the conspiracy to fraudulently obtain a Military

     Dependent Identification Card for GWYNN DARLE MORRISON that falsely

     identified her as "Julie L. Montague."
                             '

                                          Overt Acts

           In fmtherance of the conspiracy, and to effect the objects thereof, the

     defendants committed the following overt acts, among others, in the District of

     Hawaii:




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      a.    On or about August 28, 2018, WALTER GLENN PRIMROSE and

GWYNN DARLE MORRISON went to the Hawaii Army National Guard Office

in Kapolei, Hawaii.

      b.    On or about August 28, 2018, WALTER GLENN PRIMROSE and

GWYNN DARLE MORRISON met with personnel at the Hawaii Army National
                      J


Guard office who administered the Defense Enrollment Eligibility Rep01ts

Systems ("DEERS") identification site for the Depaitment of Defense in the

Hawaii Army National Guard office.

      c.    On or about August 28, 2018, WALTER GLENN PRIMROSE

identified himself as "Bobby Edward Fort" to personnel at the Hawaii Army

National Guard office in Kapolei, Hawaii.

      d.    On or about August 28, 2018, GWYNN DARLE MORRISON

identified herself as "Julie Lyn Montague" to personnel at the Hawaii Army

National Guard office in Kapolei, Hawaii.

      e.    On or about August 28, 2018, WALTER GLENN PRIMROSE and

GWYNN DARLE MORRISON signed an Application for Identification

Card/DEERS Enrollment Form 1172-2.

      All in violation of Title 18, United State Code, Section 371.




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                                     Count 2
                             Aggravated Identity Theft
                               (18 U.S.C. § 1028A)

      On or about August 28, 2018, within the District of Hawaii, WALTER

GLENN PRIMROSE, aka "Bobby Edward Fort," and GWYNN DARLE

MORRISON, aka " Julie Lyn Montague," the defendants, did knowingly possess

and use, without lawful authority, a means of identification of another person,

during and in relation to a felony violation enumerated in Title 18, United States

Code, Section 1028A(c ), to wit, Title 18, United States Code, Section 1001, that is,

the defendants willfully and knowingly made materially false, fictitious, and

fraudulent statements or representations in a matter within the jurisdiction of the

United States Department of Defense, knowing that the means of identification

belonged to another actual person.

      All in violation of Title 18, United States Code, Section 1028A.

                                     Count 3
                False Statements in Application and Use of Passport
                                (18 U.S.C. § 1542)

      On or about April 4, 2014, within the District of Hawaii, WALTER GLENN

PRIMROSE, aka "Bobby Edward F01i," the defendant, did willfully and

knowingly use and furnish to another for use a passport the issue of which was

secured by reason of a false statement, namely, a passp01i that was secured by

reason of false statements made in the application therefore, which falsely stated


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that the person depicted in the passport photograph was "Bobby Edward Fort"

when in fact the person was the defendant, which said passport the defendant used

to obtain a Hawaii Driver's License.

       A,11 in violation of Title 18, United States Code, Section 1542.

                                     Count 4
                False Statements in Application and Use of Passport
                                (18 u.s.c. § 1542)

       On or about April 8, 2016, within the District of Hawaii, GWYNN DARLE

MORRISON, aka "Julie Lyn Montague," the defendant, did willfully and

knowingly make a false statement in a passport renewal application with intent to

induce and secure for her own use the issuance of a renewed passpmi under the

authority of the United States, contrary to the laws regulating the issuance of such

. passp01is and the rules prescribed pursuant to such laws, in that in such

application, the defendant identified herself as "Julie Lyn Montague" and that her

date of birth was in XXX XX, 1968, which statements she knew to be false.

       All in violation of Title 18, United States Code, Section 1542.

                                        Count 5
                                      Conspiracy
                                   (18 U.S.C. § 371)

       From a precise date unknown, but by at least sometime in June 1987 and

 continuing to on or about July 22, 2022, in the District of Hawaii and elsewhere,

 WALTER GLENN PRIMROSE, aka "Bobby Edward Fort," and GWYNN

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DARLE MORRISON, aka "Julie Lyn Montague," the defendants, did knowingly

and willfully conspire and agree together with each other to commit offenses

against the United States, to wit, willfully and knowingly making false statements

in application for passports, with intent to secure the issuance of passports under

the authority of the United States, and willfully and knowingly using, or attempting

to use, such passports secured by such false statements, violations of T_itle 18,

United States Code, Section 1542.

                              Object of the Conspiracy

      It was the object of the conspiracy to obtain United States passports in the

names "Bobby Edward Fort" and "Julie Lyn Montague" by impersonating such

persons and obtaining and using their personally identifiable information ("PII"),

and then to use such fraudulently obtained United States passports to obtain drivers

licenses, to document eligibility for employment and to travel internationally.

                                     Overt Acts

      In furtherance of the conspiracy, and to effect the objects thereof, the

defendants committed the following overt acts, among others, in the District of

Hawaii and elsewhere:

      a.     On or about June 25, 1987, GWYNN DARLE MORRISON obtained

a birth certificate for "Julie Lyn Montague."




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      b.    On or about August 5, 1987, WALTER GLENN PRIMROSE

obtained a birth certificate for "Bobby Edward Fmi."

      c.    On or about August 25, 1987, WALTER GLENN PRIMROSE

obtained a Texas driver's license in the name of "Bobby Edward Fmi."

      d.    On or about September 1, 1987, GWYNN DARLE MORRISON

obtained a Texas identification card in the name of "Julie Lyn Montague."

      e.    On or about September 30, 1987, WALTER GLENN PRIMROSE

applied for a Social Security Number in the name of "Bobby Edward Fort."

      f.    On or about October 26, 1987, GWYNN DARLE MORRISON

applied for a Social Security Number in the name of"Julie Lyn Montague."

      g.    On or about September 24, 1990, GWYNN DARLE MORRISON

obtained a Texas driver's license in the name "Julie Lyn Montague".

      h.    On or about November 8, 1996, WALTER GLENN PRIMROSE and

GWYNN DARLE MORRISON submitted United States Passport applications in

the names of"Bobby Edward Fort" and "Julie Lyn Montague" respectively.

      1.    On or about May 23, 1998, WALTER GLENN PRIMROSE and

GWYNN DARLE MORRISON travelled to the Bahamas using their fraudulently

obtained United States passports in the names "Bobby Edward Fort" and "Julie

Lyn Montague."




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        J.    On or about October 3, 2006, WALTER GLENN PRIMROSE

submitted a United States passport renewal application in the name of "Bobby

Edward Fort."

        k.    On or about October 4, 2006, GWYNN DARLE MORRISON

submitted a United States passport renewal application in the name "Julie Lyn

Montague."

        1.     On or about September 22, 2015, WALTER GLENN PRIMROSE

and GWYNN DARLE MORRISON travelled to Amsterdam, Netherlands, using

their fraudulently obtained United States passp01is in the names "Bobby Edward

Fort" and "Julie Lyn Montague."

        m.    On or about February 12, 2016, WALTER GLENN PRIMROSE

submitted a United States passport renewal application in the name "Bobby

Edward Fort."

        n.    On or about April 8, 2016, GYWNN DARLE MORRISON submitted

a United States passport renewal application in the name "Julie Lyn Montague."

        o.    On or about May 15, 2018, GWYNN DARLE MORRISON used a

fraudulently obtained United States passp01i in the name "Julie Lyn Montague," to

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verify employment eligibility on a Department of Homeland Security Form I-9.

      All in violation of Title 18, United States Code, Section 3 71.

DATED:     · January   12   , 2023, at Honolulu, Hawaii.

                                              A TRUE BILL

                                              / s/ Foreperson
                                              FOREPERSON,GRANDJURY



CLA      E. CONN     S
United          torney
District of Hawaii


    --r.wt~
THOMAS MUEHLECK
Assistant U.S. Attmney




United States v. Walter Glenn Primrose, et al.
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